                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                     Case No. 16-CR-21

SAMY MOHAMMED HAMZEH,

                       Defendant.



                         MOTION TO WITHDRAW AS ATTORNEY


       The United States of America hereby moves this Court to withdraw Adam H. Ptashkin,

Assistant U. S. Attorney, U.S. Attorney’s Office, Eastern District of Wisconsin, as counsel in

this criminal action. Assistant U. S. Attorney Adam H. Ptashkin is leaving the U.S. Attorney’s

Office for the Eastern District of Wisconsin.

       WHEREFORE, the United States moves for the entry of an order withdrawing Adam H.

Ptashkin as counsel for the United States in this action. It is also hereby requested that all

official records in this matter, including those of the Clerk of the United States District Court for

the Eastern District of Wisconsin, reflect this withdrawal.

       Dated at Milwaukee, Wisconsin, this 23rd day of September, 2020.

                                                MATTHEW D. KRUEGER
                                                United States Attorney

                                       By:      /s/Adam H. Ptashkin
                                                ADAM H. PTASHKIN
                                                Assistant United States Attorney
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